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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA



 MATTHEW PITTARD; and                             Case No.: 8:19-CV-1784
 MATTHEW ALLENDE,

 Plaintiffs,                                      COMPLAINT AND
                                                  DEMAND FOR JURY TRIAL
        v.

 H.E. SHEIK KHALID BIN HAMAD BIN KHALIFA AL THANI;
 GEO STRATEGIC DEFENSE SOLUTIONS, LLC; and
 KH HOLDING, LLC,

 Defendants.
                            NATURE OF THE ACTION

 1.     Plaintiffs Matthew Pittard and Matthew Allende, ("Plaintiffs"), bring this

 action under the Fair Labor Standards Act ("FLSA"), 29 U.S.C. §§ 201 et. seq., in

 order to remedy Defendants wrongful withholding of Plaintiffs’ earned wages and

 overtime compensation, and intentional unfair and/or deceptive acts. Plaintiffs

 also bring these claims under Florida Labor Law ("FLL"), Florida Constitution,

 Article 10, §§ 24 et. seq., and Florida Statute Title 31 §§ 448 et. seq., and the

 California Code, Labor Code (“CLC”) LAB §§ 1182, 1194 et. seq. as well as the

 supporting Florida and California State Department of Labor Regulations for

 violations of overtime wage requirements, and notice and record-keeping

 requirements.
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 2.    Additionally, Plaintiff Matthew Allende brings a claim of retaliation under

 the FLSA, and a claim of personal injury under California law.

 3.    Finally, Plaintiff Matthew Pittard brings a claim of retaliation and claims

 of misuse of business information and tortious interference of a contract and

 business relationship under FLL and Florida law.

 4.    Defendants engaged in unlawful conduct pursuant to a policy of

 minimizing labor costs and denying employees compensation by knowingly

 violating the FLSA, FLL, and CLC. Defendants caused personal injury and later

 retaliated against Plaintiffs, terminating them from employment and intentionally

 interfering in a business relationship and damaging a contractual agreement

 between Plaintiff Pittard and others.


                          JURISDICTION AND VENUE

 Federal Question Jurisdiction and Supplemental Jurisdiction

 5.    This Court has original subject matter jurisdiction over this action under 28

 U.S.C. § 1331 because the civil action herein arises under the laws of the United

 States, namely, the Fair Labor Standards Act and 29 U.S.C. §§ 201 et seq.

 Additionally, this Court has supplemental jurisdiction over Plaintiffs’ state law

 claims under 28 U.S.C. §1367(a).
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 Personal Jurisdiction

 6.      This Court may properly maintain personal jurisdiction over Defendants

 under Rule 4 of the Federal Rules of Civil Procedure as Defendants’ contacts with

 this state and this judicial district are sufficient for exercise of jurisdiction over

 Defendant so as to comply with traditional notions of fair play and substantial

 justice.

 Venue

 7.      Venue is proper in the Middle District of Florida under 28 U.S.C. §§ 1391

 (b) (3) and (c)(2) and (c)(3).


                                     THE PARTIES

 Plaintiffs:

 8.      Plaintiff Matthew Pittard (“Pittard”) is an adult individual residing in the

 State of Florida, County of Pasco.

 9.      Plaintiff Matthew Allende (“Allende”) is an adult individual residing in the

 State of California, County of Los Angeles.

 10.     During the relevant time period, Plaintiffs were covered employees within

 the meaning of the FLSA, 29 U.S.C. § 203(e), FLL § 448.101, and the CLC §

 1194, employed by Defendants, H.E. Sheikh Khalid bin Hamad bin Khalifa Al

 Thani, Geo Strategic Defense Solutions, LLC and KH Holding, LLC

 (“Defendants”).
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 11.   Plaintiffs were employees engaged in commerce since a substantial part of

 their job requirements was to accompany Defendant Khalid in the United States

 and to foreign countries in order to perform their job functions.

 12.   Plaintiffs consented in writing to be parties to the FLSA claims in this

 action, pursuant to 29 U.S.C. §216(b), and their consent forms are attached

 hereto.

 13.   During the relevant time period, Plaintiff Pittard was a party, person,

 and/or business entity engaged in commerce within the meaning of FL Stat. §

 501.204.


 Defendant:


 14.   H.E. Sheikh Khalid bin Hamad bin Khalifa Al Thani, (“Khalid”), Geo

 Strategic Defense Solutions, LLC, and KH Holding, LLC, were Plaintiffs’

 employer and employed Plaintiffs individually and/or jointly.

 15.   At all relevant times throughout Plaintiffs’ employment, Defendant Khalid

 had the discretionary power to create and enforce personnel decisions including

 but not limited to: hiring and terminating employees; setting and authorizing

 issuance of wages; maintaining employee records; setting employees' schedules;

 instructing, supervising and training employees; dictated physical movement of
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 employees; and otherwise controlled the terms and conditions of employment of

 the Plaintiffs.

 16.       Upon information and belief, Defendant Khalid is the chairman, owner,

 and operator of Geo Strategic Defense Solutions, LLC and KH Holding, LLC.

 Defendant Khalid set and/or approved all the unlawful practices complained of

 herein in his individual capacity and/or through his companies Geo Strategic

 Defense Solutions, LLC, and KH Holding, LLC.

 17.       Defendants are a “covered employer” within the meaning of the FLSA, 29

 U.S.C. § 203(d), FLL § 448.101, and the CLC § 18, and are therefore liable for the

 unpaid wages and other damages sought herein.

                              FACTUAL ALLEGATIONS

 Plaintiffs' Work for Defendant

 18.       Plaintiffs were formerly employed by Defendants to perform work in the

 United States, Qatar, and any location to which Defendant Khalid chose to

 travel.

 19.       As part of their duties, Plaintiffs were required to accompany Defendant

 Khalid as he traveled to, from, and in the United States, Qatar, and London,

 England, where they were subject to long working hours, ranging from sixty (60)

 to ninety-six (96) hours per week. The work hours were dictated by Defendant

 Khalid’s requirement of constant medical care and security supervision.
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 20.    Plaintiff Pittard entered into an employment agreement whereby

 Defendants requested Pittard be on duty for five days with two days off. Pittard’s

 employment agreement included, in addition to monthly compensation, thirty

 days of paid leave per calendar year, two yearly flight allowances, transportation,

 and accommodations. Pittard’s employment contract expressly states that local

 labor laws are not applicable.

 21.    Plaintiff Allende entered into an employment agreement whereby

 Defendants requested Allende be on duty 24/7 with days off only when Allende

 requested time off directly from Defendant Khalid.

 22.    These illegal agreements were crafted solely by Defendant Khalid and

 Plaintiffs were required to accept their terms, or else forfeit their jobs.

 23.    Throughout the duration of their employment, Plaintiffs did not have any

 supervisory authority nor did they exercise discretion or independent judgment

 with respect to matters of significance.

 24.    Throughout the course of their employment, Plaintiffs consistently worked

 in excess of forty (40) hours per week but were not paid overtime.

 25.    Plaintiff Pittard was employed by Defendant from September 17, 2017 to

 July 10, 2018. Pittard was employed as the Defendants’ United States Director of

 Security and as a Senior Defense Consultant in Doha, Qatar.
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 26.   Pittard was promised an annual salary of $102,000.00 plus an end-of-the-

 year bonus in exchange for working regular 40-hour weeks.

 27.   Pittard’s job duties included ensuring the safety and security of Defendant

 Khalid and his family while in the United States and instituting security protocols

 and procedures to advance the security initiatives of Defendant Khalid and his

 family. While in Doha, Pittard conducted advanced counter-assault training, and

 provided law enforcement instruction and weapons training.

 28.   During the period of his employment with Defendants, Pittard worked

 approximately 80 hours per week when Defendant was located in the United

 States. When Defendant was in Qatar and traveling, Pittard’s work hours varied

 from 60 to 70 hours per week, he was not permitted any time off and was on call

 24/7 to immediately respond to Defendant’s needs and requests.

 29.   During his employment, Pittard was solicited by Defendant Khalid for the

 murder of two individuals. In approximately late September of 2017 and

 November of 2017, in Los Angeles, California, Defendant Khalid asked Pittard to

 murder a male and a female who Defendant Khalid viewed as threats to his social

 reputation and personal security. Pittard refused to execute these unlawful

 requests.

 30.   During Pittard’s period of employment, from approximately July 7-10,

 2018, Defendant Khalid and his private Qatari security staff held an American
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 citizen against the American citizen’s will on at least two occasions in one of

 Defendant Khalid’s personal residences. At Defendant Khalid’s request, the

 American citizen was arrested and jailed at the Onaiza Police Station in Doha,

 Qatar. Pittard and the United States Embassy came to the aide of the American

 citizen, and helped the American citizen reach a point of safety, and eventually

 safely depart from the country of Qatar.

 31.   On July 7, 2018, Defendant Khalid learned that the American citizen was

 no longer in his personal residence, and upon learning that Pittard had assisted in

 securing the American citizen’s safety, began contacting Pittard. Defendant

 Khalid, and individuals at the direction of Defendant Khalid, including

 employees of Defendant Geo Strategic Defense Solutions, LLC and Defendant

 KH Holding, LLC, demanded that Pittard return the American citizen, and

 provide information about the American citizen’s whereabouts to Defendant

 Khalid or Pittard “would pay the price.” Defendant Khalid’s threats to, and

 requests of, Pittard continued to escalate; Defendant Khalid directly told Pittard

 that he would kill him, bury his body in the desert, and kill Pittard’s family.

 32.   On July 10, 2018, Pittard was held against his will by Defendant Khalid,

 family members of Defendant Khalid, by Defendant’s private Qatari security

 staff, and by employees of Defendant Geo Strategic Defense Solutions, LLC and

 Defendant KH Holding, LLC. Pittard was threatened with bodily harm and his
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 work equipment, electronics, personal belongings, and medication were stolen

 and/or destroyed, and Pittard was terminated from Defendants’ employment.

 Pittard was forced under duress, with Defendant Khalid brandishing a Glock 26

 firearm, which he tapped repeatedly during his exchange with Pittard, to execute

 new employment documents.

 33.      Throughout his employment with Defendants, Pittard was not timely

 compensated for his hours worked nor was he compensated at all for his overtime

 hours.

 34.      Pittard never received wage statements or any other type of records

 outlining the number of hours he worked for the Defendants and the amounts

 owed to him.

 35.      In addition, Pittard sustained economic and non-economic damages as a

 result of Defendants’ termination.

 36.      Additionally, Pittard also sustained economic and non-economic damages

 as a result of retaliation by Defendants. After Defendants’ termination of Pittard,

 Defendants misused Pittard’s business information. For example, Defendants

 interfered with a Qatar security, law enforcement, and arms brokerage contract

 that Pittard had negotiated with the Police Training Institute in Doha, Qatar.

 37.      Plaintiff Matthew Allende was employed as a paramedic by Defendants

 from approximately October 15, 2017, to February 4, 2018.
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  38.      Allende began his employment with Defendants in Los Angeles,

  California.

  39.      Allende worked for Defendants when Defendant Khalid was in the United

  States as well as at one of Defendant’s personal residences, the Majhils, in Doha,

  Qatar.

  40.      As part of his employment duties, Allende provided immediate emergency

  medical care, vital sign monitoring, and mobile medical emergency services.

  41.      Allende was required to frequently travel with Defendant Khalid and

  Defendant Khalid’s family for work and personal purposes.

  42.      On approximately December 5, 2017, Allende accompanied Defendant

  Khalid to Doha, Qatar.

  43.      Allende was compensated at a rate of $500 USD per day, with a salary

  range of $14,000-$15,500 USD per month.

  44.      While working for Defendants, Allende worked seven days per week,

  approximately 12 hours per day, with minimal meal breaks. There were periods

  of time, particularly at the beginning of his employment, where Allende worked

  for 20 to 36 hours straight, with minimal meal breaks and no opportunity for

  sleep. His exact schedule varied from day to day to meet the medical needs of

  Defendant Khalid.
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  45.   When Allende was requested to accompany Defendant Khalid on trips or

  vacations, he was required to work seven days per week and 12 or more hours per

  day. This is because he was required to be on duty to monitor Defendant Khalid’s

  vital signs and administer aid as needed.

  46.   Accordingly, Allende worked approximately 84 hours per week, exclusive

  of the numerous occasions where he worked for 20 to 36 hours straight.

  47.   Over the course of his employment, on several occasions Defendant Khalid

  refused Allende’s request to leave the Majlis for normal breaks, personal needs,

  and personal respite after Allende had completed his requested shift. On or about

  December 17, 2017, after approximately three straight weeks of work and a 36-

  hour sleepless binge by Defendant Khalid, Allende requested a day off, to which

  Defendant Khalid agreed. During this 36-hour sleepless binge, Allende was

  forced to stay awake with Defendant Khalid. As Allende was leaving the Majlis,

  Allende was stopped by Defendant Khalid’s assigned security Amiri Guard at the

  entrance/exit of the Majlis. Allende was told that, at the direction of Defendant

  Khalid, he was not allowed to leave the Majlis. Allende stated that he had asked

  for a day off from Defendant Khalid, and that Defendant Khalid had granted his

  request.

  48.   Defendant Khalid’s guard, armed with a pistol, stated that Defendant

  Khalid had changed his mind and that Allende was no longer able to leave the
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  premises. Allende informed the guard he was leaving with or without the guard’s

  permission, to which the guard replied “No, you are not leaving,” and directed

  Allende to immediately return to the Majlis.

  49.     Instead of returning to Majilis, and fearing for his life, Allende escaped the

  confines of the premises of Majlis by jumping over a five-foot rod-iron fence, and

  then using a security guard dog’s kennel to scale over an eighteen-foot perimeter

  wall. Allende, knowing the risk that he may sustain serious injuries in his efforts

  to maintain personal security and safety, and escape from the dangerous and

  threatening situation created by Defendant Khalid, jumped from the top of the

  Majlis perimeter wall to the concrete walkway, and fell approximately eighteen

  feet.

  50.     Allende sustained serious injuries and required immediate medical

  attention and surgery in Doha, Qatar. Thereafter, on or about February 4, 2018,

  once he was healthy enough to travel, though still on crutches, Allende was

  terminated from employment by Defendants.

  51.     Throughout his employment with Defendants, Allende received a flat daily

  rate and was not compensated at all for his overtime hours of work.

  52.     Allende never received paystubs from Defendants outlining the number of

  hours worked and his rate of pay.
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  Defendants' Unlawful Practices

  53.   Defendants repeatedly suffered or permitted Plaintiffs to work in excess of

  forty (40) hours per week without paying them the appropriate overtime pay.

  54.   Defendants willfully disregarded and purposefully evaded recordkeeping

  requirements of the FLSA, FLL, and CLC by failing to maintain accurate and

  complete timesheets and payroll records. Defendants did not implement any

  procedure to keep track of Plaintiffs' hours of work or the hours of work.

  55.   Plaintiffs were never provided with wage statements showing the number

  of hours worked for Defendants in any given week of their employment.

  56.   Plaintiffs were not provided with proper wage notices at the time of hire or

  at any time thereafter.

  57.   While Defendants employed Plaintiffs, they failed to post notices

  explaining the minimum and overtime wage rights of employees under the FLSA,

  FLL, and CLC and failed to inform Plaintiffs of such rights.

  58.   At all relevant times, Defendants were an employer of Plaintiffs within the

  meaning of the FLSA, FLL, and CLC.

  59.   Defendants’ actions, threats, and requests during and after Plaintiffs

  employment has created an environment of fear and intimidation. Defendants

  behavior has gone beyond a term of employment and intentionally extended into

  Plaintiff Pittard’s business and Plaintiffs’ personal and professional lives.
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  Defendants’ access through his/their financial resources essentially prescribe

  limitless opportunity for harm.


                            FIRST CAUSE OF ACTION

                Fair Labor Standards Act – Unpaid Overtime Wages

  60.   Plaintiffs reallege and incorporate by reference all allegations made in all

  preceding paragraphs.

  61.   Defendants failed to pay Plaintiffs overtime wages for all hours worked

  above 40 hours per week thereby violating the FLSA, 29 U.S.C. § 207(a)(1).

  62.   Defendants’ unlawful conduct, as described in this Complaint, was willful

  and intentional. Defendants were aware, or should have been aware, that the

  practices described in this Complaint were unlawful. Accordingly, a three-year

  statute of limitations applies pursuant to 29 U.S.C. § 255(a).

  63.   As a result of the Defendants’ violations of the FLSA, Plaintiffs have been

  deprived of overtime compensation and other wages in amounts to be determined

  at trial, and are thus entitled to recovery of such amounts, liquidated damages,

  attorney’s fees and costs, and other compensation pursuant to 29 U.S.C. § 216(b).
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                          SECOND CAUSE OF ACTION

                   Florida Labor Law – Unpaid Overtime Wages

                    (Brought on behalf of Plaintiff Pittard only)

  64.   Plaintiff Pittard realleges and incorporates by reference all allegations in all

  preceding paragraphs.

  65.   Defendants failed to pay Pittard overtime wages for all hours worked

  above 10 hours per day, thereby violating FLL § 448.01.

  66.   Due to Defendants’ violations of the FLL, Plaintiff Pittard is entitled to

  recovery of his unpaid overtime wages, and reasonable attorney’s fees, pursuant

  to FLL §§ 448.104.

                              THIRD CAUSE OF ACTION

                 California Labor Law – Unpaid Overtime Wages

                    (Brought on behalf of Plaintiff Allende only)

  67.   Plaintiff Allende realleges and incorporates by reference all allegations in

  all preceding paragraphs.

  68.   Defendants failed to pay Allende overtime wages for all hours worked in

  excess of eight hours in one workday and work above 40 hours per week, thereby

  violating CLC § 510.

  69.   Defendants’ failure to pay Allende his overtime compensation lacked a

  good faith basis within meaning of CLC § 13520.
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  70.   Due to Defendants’ violations of the CLC, Allende is entitled to recovery

  of his unpaid overtime wages, reasonable attorney’s fees and costs of the action,

  and pre-judgment and post-judgment interest, pursuant to CLC § 1194.

                          FOURTH CAUSE OF ACTION

                 Fair Labor Standards Act – Prohibited Retaliation

                    (Brought on behalf of Plaintiff Allende only)

  71.   Plaintiff Allende realleges and incorporates by reference all allegations in

  all preceding paragraphs.

  72.   Defendants retaliated against Allende by terminating his employment after

  Allende requested and was granted and then denied respite from work, and

  attempted to depart Defendant Khalid’s personal residence after three straight

  weeks of work, and a 36-hour shift, in violation of 29 U.S.C.A. § 215(a)(3).

  73.   Due to Defendants’ unlawful retaliation against Allende, he has suffered

  harm and is entitled to recovery of back wages, front wages, liquidated damages,

  damages for emotional distress, punitive damages, attorney’s fees, costs, and

  other such damages of an amount to be determined at trial.
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                              FIFTH CAUSE OF ACTION

                  California Labor Code – Prohibited Retaliation

                    (Brought on behalf of Plaintiff Allende only)

  74.   Plaintiff Allende realleges and incorporates by reference all allegations in

  all preceding paragraphs.

  75.   Defendants retaliated against Allende by terminating his employment after

  Allende requested and was granted respite from work, and attempted to depart

  Defendant Khalid’s personal residence after three straight weeks of work, and a

  36-hour shift, in violation of CLC § 1102.5.

  76.   Due to Defendants’ unlawful retaliation against Allende, he has suffered

  harm and is entitled to recovery of back wages, front wages, liquidated damages,

  damages for emotional distress, punitive damages, attorney’s fees, costs, and

  other such damages of an amount to be determined at trial.

                              SIXTH CAUSE OF ACTION

           California Labor Code– Failure to Provide Wage Statements

                    (Brought on behalf of Plaintiff Allende only)

  77.   Plaintiff Allende realleges and incorporates by reference all allegations in

  all preceding paragraphs.
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  78.   Defendants failed to provide Allende with wage statements listing the

  number of hours he worked each week of his employment with Defendants, and

  the rate received for such hours, in violation of CLC § 226.

  79.   Due to Defendants’ violations of the CLC, Allende is entitled to recover

  from Defendants statutory damages of Fifty Dollars ($50) for the initial pay

  period violation and One Hundred Dollars ($100) for each violation in a

  subsequent pay period, up to a maximum of Four Thousand Dollars ($4,000),

  reasonable attorney’s fees and costs of the action, pursuant to CLC § 226.

                          SEVENTH CAUSE OF ACTION

                        Florida Law– Prohibited Retaliation

                     (Brought on behalf of Plaintiff Pittard only)

  80.   Plaintiff Pittard realleges and incorporates by reference all allegations in all

  preceding paragraphs.

  81.   Defendants retaliated against Plaintiff Pittard by wrongfully terminating

  his employment after Pittard refused to engage in criminal activity in violation of

  public policy at the request of Defendant Khalid.

  82.   Due to Defendants’ unlawful retaliation against Pittard, he has suffered

  great hardship and is entitled to recovery of back wages, front wages, liquidated

  damages, damages for emotional distress, punitive damages, attorney's fees, costs,

  and other such damages of an amount to be determined at trial.
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                           EIGHTH CAUSE OF ACTION

                 Florida Deceptive and Unfair Trade Practices Act–

                    Tortious Interference with Business Contract

                     (Brought on behalf of Plaintiff Pittard only)

  83.   Plaintiff Pittard realleges and incorporates by reference all allegations in all

  preceding paragraphs.

  84.   Defendants retaliated against Pittard by misusing his business information.

  For example, Defendants intentionally interfered and disrupted a contract

  between Plaintiff and the Police Training Institute, in violation of FL Stat §

  501.204. Defendants knew of the contract, and intentionally acted to disrupt the

  contract to harm Plaintiff.

  85.   Due to Defendants’ tortious interference, Pittard is entitled to loss of

  business and profit, attorney's fees, costs, and other such damages of an amount

  to be determined at trial.

                               NINTH CAUSE OF ACTION

                 Florida Deceptive and Unfair Trade Practices Act –

                  Tortious Interference with Business Relationship

                     (Brought on behalf of Plaintiff Pittard only)

  86.   Plaintiff Pittard realleges and incorporates by reference all allegations in all

  preceding paragraphs.
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  87.   Defendants retaliated against Pittard by intentionally interfering and

  disrupting a business relationship with the Police Training Institute, in violation

  of FL Stat § 501.204. Defendant knew of the relationship, and intentionally acted

  to disrupt the relationship to harm Plaintiff.

  88.   Due to Defendants’ tortious interference, Pittard is entitled to loss of

  business and profit, attorney’s fees, costs, and other such damages of an amount

  to be determined at trial.

                               TENTH CAUSE OF ACTION

                           California Law – Personal Injury

                    (Brought on behalf of Plaintiff Allende only)

  89.   Plaintiff Allende realleges and incorporates by reference all allegations in

  all preceding paragraphs.

  90.   As a direct and proximate result of Defendants’ actions, Allende suffered

  severe and permanent physical injuries.

  91.   Due to Defendants’ acts and omissions, Allende has suffered general and

  special, incidental and consequential damages. These damages include, but are

  not limited to: damages for general pain and suffering; permanent physical injury;

  damages for loss of enjoyment of life, both past and future; travel and travel-

  related expenses, past and future; emotional distress, and future emotional

  distress; pharmaceutical expenses, past and future; related wage and loss earning
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  capacity damages; and, all other ordinary, incidental and consequential damages

  as would be anticipated to arise under the circumstances.



                                PRAYER FOR RELIEF

  WHEREFORE, Plaintiffs seek the following relief:

  A. Issuance of a declaratory judgment that the practices and actions complained

  of in this complaint are unlawful under the Fair Labor Standards Act, 29 U.S.C.

  §§ 201 et seq., Florida Labor Law ("FLL"), Florida Constitution, Article 10, §§ 24

  et. seq., Florida Statute Title 31 §§ 448 et. seq., the Florida Deceptive and Unfair

  Trade Practices Act, FL Statute 501.201, and the California Labor Code

  (“CLC”), LAB §§ 1182, 1194 et. seq., as well as the supporting Florida and

  California State Department of Labor Regulations;

  B. Unpaid overtime wages under the FLSA and an additional and equal amount

  as liquidated damages pursuant to 29 U.S.C. § 216(b) and the supporting United

  States Department of Labor regulations;

  C. Unpaid overtime wages under the FLL, and attorney’s fees pursuant to FLL

  §§448.104;

  D. Unpaid overtime wages under the CLC, reasonable attorney’s fees and costs of

  this action, and pre-judgment and post-judgment interest, pursuant to CLC §

  1194;
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  E. Civil penalties of One Thousand One Hundred Dollars ($1,100.00) for each of

  Defendants’ willful and repeated violations of the FLSA pursuant to 29 U.S.C. §

  216(b);

  F. If liquidated damages pursuant to FLSA, 29 U.S.C. § 216(b) are not awarded,

  an award of pre-judgment interest pursuant to 28 U.S.C. § 1961;

  G. An award of back wages, front wages, damages for emotional distress, and

  punitive damages, attorney’s fees, costs, and other such damages as appropriate

  for Defendants’ prohibited retaliation against Allende pursuant to California law;

  H. An award of back wages, front wages, liquidated damages, damages for

  emotional distress, punitive damages, and liquidated damages up to a maximum

  of Ten Thousand Dollars ($10,000), for Defendants’ prohibited retaliation against

  Allende pursuant to CLC § 1102.5;

  I. An award of statutory damages up to a maximum of Four Thousand Dollars

  ($4,000), for Defendants' failure to provide Plaintiff Allende with accurate wage

  statements pursuant to CLC § 226;

  J. An award of back wages, front wages, damages for emotional distress, punitive

  damages, attorney’s fees, costs, and other such damages as appropriate for the

  Defendants’ prohibited retaliation against Plaintiff Pittard pursuant to Florida

  law; K. An award of loss of business and profit, attorney’s fees, costs, and other

  such damages as appropriate for the Defendants’ intentional interference and
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  disruption of a contract between Plaintiff Pittard and the Police Training

  Institute, and other such damages as appropriate for the Defendants’ acts and

  misuse of Pittard’s business information;

  L. An award of loss of business and profit, attorney’s fees, costs, and other such

  damages as appropriate for the Defendants’ intentional interference and

  disruption of a business relationship, and other such damages as appropriate for

  the Defendants’ acts;

  M. An award of damages for general pain and suffering; permanent physical

  injury; damages for loss of enjoyment of life, both past and future; travel and

  travel-related expenses, past and future; emotional distress, and future emotional

  distress; pharmaceutical expenses, past and future; related wage and loss earning

  capacity damages; and, all other ordinary, incidental and consequential damages

  as would be anticipated to arise under the circumstances for Defendants’ conduct

  that directly and proximately caused physical injury to Plaintiff Allende;

  N. As to Plaintiff Pittard, an award of pre-judgment and post-judgment interest of

  four-point five percent per annum (4.5%) pursuant to FL Stat. § 55.03;

  O. As to Plaintiff Allende, an award of pre-judgment and post-judgment interest

  of seven percent per annum (7.0%) pursuant to CA Const. Art. 15 § 1;

  P. Such other relief as this Court shall deem just and proper.
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                                                         Respectfully submitted,

                                                         /s/Rebecca L. Castaneda
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                         CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing has been

  electronically filed on July 23, 2019, with the Clerk of the Court using the

  CM/ECF system which will automatically transmit an electronic copy to:

        Attorney Aryeh Kaplan

                                                         Respectfully submitted,

                                                         /s/Rebecca L. Castaneda
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